         Case 1:22-cv-00806-CKK Document 22 Filed 09/08/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 TARA    HALL    AS    PERSONAL
 REPRESENTATIVE OF THE ESTATE OF
 MARCEL THEO HALL

        Plaintiff,                                   CASE NO: 1:22-cv-00806-CKK

 vs.

 BIZ MARKIE, INC. and JENNIFER IZUMI

        Defendants.


                      NOTICE OF WITHDRAWAL OF COUNSEL

       PLEASE TAKE NOTICE that Adeyemi Adenrele for Barnes & Thornburg LLP hereby

withdraws as counsel for defendants Jennifer Izumi and Biz Markie, Inc.       This Notice of

Withdrawal of Counsel only pertains to Adeyemi Adenrele and not any other attorney of record.

Defendants Jennifer Izumi and Biz Markie, Inc. will continue to be represented by William R.

Martin of the law firm Barnes & Thornburg LLP in this matter.


Dated: September 8, 2022                          Respectfully submitted,


                                                  /s/ Adeyemi Adenrele
                                                  William R. Martin (DC Bar No. 465531)
                                                  Adeyemi Adenrele (DC Bar No. 1615835)
                                                  BARNES & THORNBURG LLP
                                                  1717 Pennsylvania Avenue N.W., Suite 500
                                                  Washington, D.C. 20006-4623
                                                  Telephone:    (202) 289-1313
                                                  Facsimile:    (202) 289-1330
                                                  billy.martin@btlaw.com
                                                  adey.adrenrele@btlaw.com

                                                  Attorneys for Defendants
                                                  Jennifer Izumi and Biz Markie, Inc.
          Case 1:22-cv-00806-CKK Document 22 Filed 09/08/22 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that on September 8, 2022, I electronically filed the foregoing Notice of

Withdrawal of Counsel with the Clerk of the Court via CM/ECF system to automatically serving

all attorneys of record:


                                            /s/ Adeyemi Adenrele
                                            Adeyemi Adenrele
                                            District of Columbia Bar No. 1615835
